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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

JAMES DELANO,                             )
                                          )
       Plaintiff,                         )
                                          )
       v.                                 )      CASE NO. 2:24-cv-327-JTA
                                          )
STEPHANIE M. AZAR, et al.,                )
                                          )
       Defendants.                        )

                                      ORDER

       The plaintiff filed this complaint on May 30, 2024. (Doc. No. 1.) The defendants,

AlaHealth, Inc. and SeniorSelect Partners, Inc. were served with the complaint on or before

June 10, 2024. (Doc. No. 13.) Prior to filing an answer or motion for summary judgment,

the plaintiff filed a Motion to Dismiss Without Prejudice wherein he requests dismissal of

these defendants. (Doc. No. 15.) The Court construes the motion as a Notice of Voluntary

Dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(i), which permits voluntary

dismissal by a plaintiff “before the opposing party serves either an answer or a motion for

summary judgment[.]” Fed. R. Civ. P. 41(a)(1)(A)(i). Under Federal Rule of Civil

Procedure 41(a)(1)(B), such dismissal is “without prejudice.” Fed. R. Civ. P. 41(a)(1)(B).

       Accordingly, it is

       ORDERED that Plaintiff’s motion to dismiss defendants AlaHealth, Inc. and

SeniorSelect Partners, Inc. (Doc. No. 15) is construed as a Notice of Voluntary Dismissal

under Federal Rule of Civil Procedure 41(a)(1)(A)(i).
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DONE this 23rd day of July, 2024.




                          JERUSHA T. ADAMS
                          UNITED STATES MAGISTRATE JUDGE
